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                                                    United States District Court
                                                    Central District of California
                                                                                                                                          JS-3

UNITED STATES OF AMERICA vs.                                             Docket No.            CR 21-62-PSG


               ALCALA, Jesus Ricardo                                    Social Security No. I       9     6     8
Defendant
      Crook, Spooky, Cheuy, Chewy, Cook, and Cricket,
      Also Known  As: Alcala, Jesse/Jessie                              (Last 4 digits)
akas: Ricardo/Richard



                                                                                                                MONTH     DAY     YEAR

            In the presence ofthe attorney for the government, the defendant appeared in person on this date.   ll         OS      2021


 COUNSEL                                                             DFPD Michael Brown
                                                                        (Name of Counsel)

     PLEA        ❑X GUILTY,and the court being satisfied that there is a factual basis for the plea. ~      NOLO    ~  NOT
                                                                                                         CONTENDERE   GUILTY

  FINDING           There being afinding/verdict of GUILTY,defendant has been convicted as charged ofthe offenses) of:

                 Prohibited Person in Possession of Ammunition, in violation of Title 18 U.S.C.§ 922(8)(1),(g)(9), as
                 charged in Single-Count Indictment.

JUDGMENT         The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/        contrary was shown, or appeared to the Court,the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM           Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER          custody ofthe Bureau of Prisons to be imprisoned for a term of 24 months.

It is ordered that the defendant shall pay to the United States a special assessment of$100, which is due
immediately. Any unpaid balance shall be due during the period ofimprisonment, at the rate ofnot less
than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § SE1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

Upon release from imprisonment,the defendant shall be placed on supervised release for a term ofthree
years under the following terms and conditions:

1.      The defendant shall comply with the rules and regulations ofthe United States Probation &Pretrial
        Services Office and Second Amended General Order 20-04.
2.      During the period of community supervision, the defendant shall pay the special assessment in
        accordance with this judgment's orders pertaining to such payment.
3.      The defendant shall cooperate in the collection of a DNA sample from the defendant.
4.      The defendant shall refrain from any unlawful use ofa controlled substance. The defendant shall
        submit to one drug test within 15 days ofrelease from custody and at least two periodic drug tests
        thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

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5.      The defendant shall participate in an outpatient substance abuse treatment and counseling program
        that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The
        defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
        medications during the period of supervision.
        During the course of supervision,the Probation Officer, with the agreement ofthe defendant and
        defense counsel, may place the defendant in a residential drug treatment program approved by the
        U.S.Probation and Pretrial Services Office for treatment ofnarcotic addiction or drug dependency,
        which may include counseling and testing,to determine ifthe defendant has reverted to the use of
        drugs. The defendant shall reside in the treatment program until discharged by the Program
        Director and Probation Officer.
7.      As directed by the Probation Officer, the defendant shall pay all or part of the costs of the
        Court-ordered treatment to the aftercare contractors during the period ofcommunity supervision.
        The defendant shall provide payment and proof of payment as directed by the Probation Officer.
        Ifthe defendant has no ability to pay, no payment shall be required.
;
c        When not employed or excused by the Probation Officer for schooling, training, or other
        acceptable reasons, the defendant shall perform 20 hours of community service per week as
        directed by the Probation &Pretrial Services Office.
        The defendant shall submit the defendant's person, property, house,residence, vehicle, papers, or
        other areas under the defendant's control, to a search conducted by a United States Probation
        Officer or law enforcement officer. Failure to submit to a search may be grounds for revocation.
        The defendant shall warn any other occupants that the premises may be subject to searches
         pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable
        time and in a reasonable manner upon reasonable suspicion that the defendant has violated a
        condition of his supervision and that the areas to be searched contain evidence of this violation.

The Court authorizes the Probation &Pretrial Services Office to disclose the Presentence Report to the
substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
dependency. Further redisclosure of the Presentence Report by the treatment provider is prohibited
without the consent ofthe sentencing judge.

The Court recommends that the defendant be designated to a Southern California facility.

The defendant is advised of the right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.

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           Date                                                  U. S. Chief District Judge


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                                                                                                        Marshal or other qualified officer.
It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S.


                                                                          Clerk, U.S. District Court




                1. ~I 202                                           BY
           Filed D to                                                         Deputy          erk




 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:

 1.   The defendant must not commit another federal, state, or local               9.          The defendant must not knowingly associate with any persons engaged
      crime;                                                                                   in criminal activity and must not knowingly associate with any person
 2.   The defendant must report to the probation office in the federal                         convicted ofa felony unless granted permission to do so by the probation
      judicial district of residence within 72 hours of imposition of a                        officer. This condition will not apply to intimate family members, unless
      sentence of probation or release from imprisonment, unless                               the court has completed an individualized review and has determined
      otherwise directed by the probation officer;                                             that the restriction is necessary for protection of the community or
 3.   The defendant must report to the probation office as instructed by                       rehabilitation;
      the court or probation officer;                                              10.         The defendant must refrain from excessive use of alcohol and must not
 4.   The defendant must not knowingly leave the judicial district                             purchase, possess, use, distribute, or administer any narcotic or other
      without first receiving the permissio❑ of the court or probation                         controlled substance, or any paraphernalia related to such substances,
      officer;                                                                                 except as prescribed by a physician;
 5.   The defendant must answer truthfully the inquiries ofthe probation               1 1.    The defendant must notify the probation officer within 72 hours ofbeing
      officer, unless legitimately asserting his or her Fifth Amendment                        arrested or questioned by a law enforcement officer;
      right against self-incrimination as to new criminal conduct;                     12.     For felony cases, the defendant must not possess a firearm, ammunition,
 6.   The defendant must reside at a location approved by the probation                        destructive device, or any other dangerous weapon;
      officer and must notify the probation officer at least 10 days before            1 3.    The defendant must not act or enter into any agreement with a law
      any anticipated change or within 72 hours of an unanticipated                            enforcement agency to act as an informant or source without the
      change in residence or persons living in defendant's residence;                          permission of the court;
 7.   The defendant must permit the probation officer to contact him or                14.     As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation                       persons and organizations of specific risks posed by the defendant to
      ofany contraband prohibited bylaw or the terms ofsupervision and                         those persons and organizations and must permit the probation officer to
      observed in plain view by the probation officer;                                         confirm the defendant's compliance with such requirement and to make
 8.   The defendant must work at a lawful occupation unless excused by                         such notifications;
      the probation officer for schooling, training, or other acceptable               I5.     The defendant must follow the instructions of the probation officer to
      reasons and must notify the probation officer at least ten days                          i mplement the orders of the court, afford adequate deterrence from
      before any change in employment or within 72 hours of an                                 criminal conduct,protect the public from further crimes ofthe defendant;
      unanticipated change;                                                                    and provide the defendant with needed educational or vocational
                                                                                               training, medical care, or other correctional treatment in the most
                                                                                               effective manner.




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    ❑        The defendant must also comply with the following special conditions (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
                                                                                                                                                 subject
 restitution is paid in full before the fifteenth (i 5th) day after the date ofthe judgment under 18 U.S.C. § 36120(1). Payments may be
                                                                                    and penalties pertaining to restitution, however, are not applicable
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney's Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant's mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(1)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant's economic circumstances that might affect the defendant's ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may,on its own motion or that ofa party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                      Special assessments under 18 U.S.C. § 3013;
                      Restitution, in this sequence (under 18 U.S.C. § 3664(1), all non-federal victims must be paid before the United
                      States is paid):
                             Non-federal victims (individual and corporate),
                             Providers of compensation to non-federal victims,
                             The United States as victim;
                      Fine;
                      Community restitution, under 18 U.S.C. § 3663(c); and
                      Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAl1YING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer,the defendant must provide to the Probation Officer: (I)a signed release authorizing credit report
 inquiries;(2)federal and state income tax returns or a signed release authorizing their disclosure and(3)an accurate financial statement, with
 supporting documentation as to all assets, income and expenses ofthe defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval ofthe Probation Officer.

          When supervision begins, and at any time thereafter upon request ofthe Probation Officer,the defendant must produce to the Probation
 and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business or trust
 accounts. Thereafter, for the term ofsupervision, the defendant must notify and receive approval ofthe Probation Office in advance ofopening
 a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or name,address,
 or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the new account,
 modification or closing,the defendant must give the Probation Officer all related account records within ]0 days ofopening, modifying or closing
 the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant's behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval ofthe Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                   RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                     to

Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant's appeal deter►nined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal




           Date                                                     Deputy Marshal




                                                                  CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court




            Filed Date                                              Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                     Date




                     U. S. Probation Officer/Designated Witness                    Date




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